Shochow Cole

 

 

 

 

 

 

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA
Fehenl WV. Gie_, J)- Nye
(Ful/name of plaintiff in this action) Case No. y /E- cV - O00 a pie.
Plaintiff, (To be supplied by the Court)
vs. First Pmerded
PRO SE COMPLAINT
Alc, SEARHC

 

OL Mora. Kea HMuchagze) forfunder
ay Wed Aut Toust
—— - , (Type of complaint)
FIC Wes | naPon DC

(Full names of ALL defendant(s) in this action.
Do NOT use ef al.)

 

 

 

 

Defendant(s).

 

A. Jurisdiction

Jurisdiction in the United States District Court for the District of Alaska is invoked under:

ZF U.S.C 2/22)

 

 

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Case 1:18-cv-00011-TMB Document 20 Filed 05/09/19 Page 1 of 21
B. Parties

 

 

1. The Plaintiff is Seyret. Gl Cy , who presently
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resides at_@ mile [o2p PROG Wenge) AK ? 9 9 Z}
(Addrds$)

2. Defendants:

Defendant No. 1, A/C Mas Ke Lh» -d Com muti Sprve( ise
ciizerot FO Rex /zZz/ , Wheggell, AK D925 we workSSs a

(Chy/State)

for
(Job Title, if applicable) (Employer/agency, if applicable)

Defendant No. 2, SEAKH C. (C S Alike Reg perc) Nes He Cnerharisa
citizert of S/OF7 baw e/ TS ite S~> whewerksas a

—_ City/State)
Sieg, A for £2)
(Job Title, if applicable) (Employer/agency, if applicable)

Defendant No. 3, ZS. Aten “oo off C2, isa
citizerrot ZZZ West Sk Au 0 Ram 252 FT, whomorkeare

Atuchorag 0. WAV oor PIES LF

(Job Title, if appfi€able) — (Employer/agency, if applicable)

Defendant No. 4, AHS —Cesith ang Hua Mar Conv cet )
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Kz. ot Le I, We (CiniStae) 9 LOU )

 

 

 

 

 

 

(Job Title, if applicable) (Employer/agency, if applicable)
Defendant No.5, 7 (Fe dew | Trade. CANN LSS JOAN |i
citizerrof 6e9 Fewmey) Vans Ave NW, Who wore a

Wash an ot paeite “2Zos Lf QO

(Job Title, if applicable) (Employer/agency, if applicable)

C. Causes of Action (Briefly describe the facts you consider important to each claim.
State what happened clearly and briefly, in your own words. DO NOT cite legal authority
or argument. Be certain to describe exactly what each defendant, by name, did to support
each claim for relief.)

2 COMPLAINT

Case 1:18-cv-00011-TMB Document 20 Filed 05/09/19 Page 2 of 21
Pro Se 1 (Rev. 12/16) Compkaini for a Civil Case

Case 1:
Case

Defendant No, |

Name

Job or Title fifkrown;
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (i known)

Defendant No. 2

Name

Job or Title “#/ known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (iknow

Defendant No. 3

Name

Job or Title (if frawn
Street Address

City and County
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Defendant No. 4

Name

Job or Title fifforaeny
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cv-00011-TMB Document 20 Filed 05/09/19 Page 30
 

Claim 1: On or about_/ ZY J222 5 t. si See cade ooh rOge¢
TA

 

 

 

 

a 5 y
(ater Period of Timey (Supporting facts)
From: Stephen Cole swcole@gci.net
Subject: Cole vs AICS and Search , et. al. Amended Complaint, First Amended
Date: May 7, 2019 at 10:16 AM

To: Amended Complaint, First Amended US District Court for the District of Alaska
Cc: Claim 1

HHS is changing the traditional pharmacy to doctor business relationship that acts as a check and balance on doctor prescribing. Itis a conflict
of interest when the prescriptions written influence the finical well being of the clinic.

As | understand it this is how the HHS program works.
1, Doctor clinic changes to a non-profit type organization.

2.The non-profit then applies for grants from HHS to expand into all areas of health care . See copy of grant. SEARCH has abused their
mandate and gone into non health care business. See letter dated September 6, 2018 from Trish and Dirk White of Sitka Alaska.

3. The only way the non-profit pharmacy can compete is to give it a unfair advantage. This pharmacy is called a 340B type pharmacy. The
cost of goods for a 340B pharmacy is 25% to 50% less than what the normal wholesale price that a for profit retail pharmacy has to pay. This
gives the non-profit pharmacy extra profits that can fund the doctor clinic. Many states at one time prohibited doctor clinics from having a
finical interest in pharmacies. It could lead to

over prescribing.

4. Private insurance companies only need for have contract coverage of one store for each zip code. The 340B pharmacy can accept lower
reimbursement and still make money because of the lower cost of goods,

5. | believe the FTC will find the 340 B pharmicies are in violation of anti-trust legislation.

 

 

 

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Case 1:18-cv-00011-TMB Document 20 Filed 05/09/19 Page 4 of 21
J.
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id DEPARTMENT OF HEALTH & HUMAN SERVICES

Office of Communications
eaesea Health Resources and
Services Administration
5600 Fishers Lane, Rm. 14-15
Rockville MD 20857

October 23, 2008

Mr. Joshua S. Glasgow

Brownstein, Hyatt, Farber & Schreck
Attomey at Law

410 Seventeenth Street, Suite 2200
Denver, CO 80202-4432

RE: Freedom of Information Act Case Number HRSA 09-041

 

Dear Mr. Glasgow:

| have enclosed a copy of the 330 CHC grant application awarded to Alaska Island
Community Services, which you requested through the FOIA. Also enclosed is an
invoice detailing fees associated with this FOIA response.

As required by FOIA Regulation, 45 CFR, Section 5.65(d), this Office engaged in
pre-disciosure notification procedures with the grantee to determine the type and
extent of non-discloseable information contained in their grant applications. As a
result of that review, | have deleted all DUNS, entity identification numbers, social
security numbers contained in the application. | have also withheld the budget
justification and income analysis in its entirety. If after your review you believe this
information should be made-available to you, please contact me and | will issue you
a formal denial explaining your right to appeal.

The Department of Health and Human Services’ policy calls for the fullest
responsible disclosure consistent with the requirements of administrative necessity
and confidentiality which are recognized by the FOIA, 5 U.S.C. § 552, and the
Department's implementing Public Information Regulations, 45 CFR

Part 5.

lf you need further assistance, please contact this office at (301) 443-2865,

Sincerely,

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“J
Hazel Hargrove *.
Freedom of Information Specialist

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Enclosures

se 1:18-cv-00011-TMB Document1 Filed 07/23/18 Page 8 of 31
case 1:18-cv-00011-TMB Document 20 Filed 05/09/19 Page 5 of 21
Application

Page | of |

 

APPLICATION FOR ASSISTANCE

APPLICATION FOR
FEDERAL AGSISTANCE

of Date Recelved

Construction Construction Date Received
Non-Construction Non-Construction

Information
Name:
Island
DUNS:

{alve city, county, state and zip onde} and telephone number of the person to be contacted on

Office Box 1231 Allen
AK 99929-1233

Number (give area

of

 

 

. Name of
\ Resources and Administration
& Descriptive Title of Appiicant’s Project:
A Center Cluster
Areas
2 Areas: Wrangell Istand and Northern Prince of Wales t
Asens: Isinnd Communities of, City: Wrangell, City:
(Name af Program) City: Naukati, City: Edna Bay, City: Whale Paes,
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YES This preappileation /appiication was made to the
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TO THE BEST OF MY KNOWLEDGE AND BELIEF, ALL DATA IN THIS APPLICATION/PREAPPLICATION ARE TRUE AND CORRECT, THE
HAS BEEN DULY AUTHORIZED BY THE GOVERNING BODY OF THE APPLICANT AND THE APPLICANT WILL COMPLY WITH THE
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Case 1:18-cv-00011-TMB Document 20 Filed 05/09/19 Page 6 of 21

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"Fax: (907) 686-2468 : Meee “Pa: (907) 966-2180 1. 2 + Baxr(997) 966-2638 .

September 6, 2018

To Whom It May Concern:

We at White’s Inc (doing business in our community for the past 33 years with two small community pharmacies) would
Ike to add our concerns and our experiences regarding business practices in our community as it relates to competition
with the Federal Government entity known as SEARHC (Southeast Alaska Regional Health Corporation).

For the past 5 years, since the mission statement of SEARHC has been modified to Include ALL folks-not just the Alaska
Native beneficlaries, we have been competing for everything from patients, employees,to Insurance contracts, In other
words, when SEARHC opened their doors to all of the citizens of Sitka they became our competition since this also
included pharmacy services. Because they are a federally subsidized entity the cost of doing business (including the cost
of drugs) is significantly less than what it is for a small rural community pharmacy. Our freight bill alone to get
medication to Sitka runs between $2000.00 and $4000.00 per month. This means we also are not able to contract with
an insurance whose bottom line reimbursement for prescriptions is less than what it costs us to fill that prescription.
Since SEARHC has substantially lower overhead, cost of goods as well as other savings and subsidies they can sign any
contract for any reimbursement and still be profitable. This then locks us out of that contract unless we wish to take
that below cost payment for those prescriptions. In most cases the insurance companies won't even talk to us because
SEARHC CAN afford that reimbursement and the Insurance company only needs to satisfy one pharmacy provider per zip
code. ‘

Now SEARHC plans to purchase our focal community hospital -this means the 377 lives covered under the Sitka
Community Hospital umbrella will now be Federal Blue Cross health care beneficlarles...that Is a huge loss for our small
business. This is only the tip of the Iceberg, Sitka loses It’s choice and freedom in medical care options.

Please consider the unlawfulness of a federal entity competing with private enterprise. They have a catering/food
service business, short term rental business and now a transportation business. This has been occurring on many levels.
We are small business employers with over 38 folks on our team; please do not hesitate to reach out to us for further
clarification of any of our concerns.

Thank you, ~
Trish and Dirk White he
White's Inc ety

Sitka

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:18-cv-00011-TMB *SEALED* Document 4 Filed 09/20/18 Page5o
Case SS 1:18-cv-00011-TMB Document 20 Filed 05/09/19 Page 7 of 21
GAO Releases Another Troubling Report on 3408 Drug Discount Program | Citizens Against Government Waste 7/11/18, 4:42 PM

GAO Releases Another Troubling Report on 340B Drug Discount
Program

The WasteWatcher is the staff blog of Citizens Against Government Waste (CAGW) and the Council for
Citizens Against Government Waste (CCAGW). For questions, contact blog @cagw.org.

July 10,2018 - 17:32 — Elizabeth Wright

Citizens Against Government Waste (CAGW) has been concerned with the 340B Drug Discount program for
some time. On June 28, 2018, the Government Accountability Office (GAO) released, “Drug Discount
Program: Federal Oversight of Compliance at 340B Contract Pharmacies Needs Improvement.” The report
adds to the growing mountain of evidence that the discount program is out of control and is in dire need of
restructuring.

 

On Wednesday, July 11, the House Energy and Commerce Subcommittee on Health will hold another hearing
on the program entitled, “Opportunities to Improve the 340B Drug Pricing Program.” The GAO report will
be a topic of discussion, as will numerous bills that have been introduced to fix the drug discount program
and return it to its original intent of helping indigent, uninsured Americans get access to low cost out-patient
pharmaceuticals. CAGW’s lobbying arm, the Council for Citizens Against Government Waste, has already
announced support for some of these bills, such H.R. 4710, the “340B Protecting Access for the Underserved
and Safety-Net Entities Act,” or 340B PAUSE Acct, and S. 2312, the “Help Insure Low-income Patients Have
Access to Care and Treatment,” or HELP Act.

The 340B program was created in 1992 and is administered by the Department of Health and Human
Services (HHS) Health Resources and Services Administration (HRSA). Health providers that participate in
the program on behalf of their patients are called “covered entities” and include federal grantees, such as
federally-qualified health centers, and certain hospitals, such as disproportionate share hospitals (DSH).
Pharmaceutical companies are required to participate in the 340B drug discount program if they wish to have
their drugs covered by Medicaid. The discounts for the drugs can be substantial, ranging from 25 to 50
percent of the average wholesale price for covered outpatient drugs.

The program has seen most of its growth due to changes made in the Patient Protection and Affordable Care
Act (ACA), better known as Obamacare. According to a July 2017 GAO report, the number of hospital-
eligible sites participating in the program has grown from 7,806 in 2013 to 21,554 in 2017. CAGW has
argued for some time that many hospitals are misusing the program, utilizing it to boost revenues, while
indigent beneficiaries do not get the drug discounts they should be receiving.

The GAO report focuses on contract pharmacies, which have grown exponentially just as covered entities
have, from 1,300 in 2010 to nearly 20,000 in 2017. Covered entities contract with pharmacies to dispense the
340B drugs to their patients. This is an amazing statistic since the 340B statute never gave the government
authority to permit contract pharmacies to participate. HRSA issued guidance In 1996 to allow covered
entities that did not have an on-site pharmacy to contract with one off-site pharmacy. In 2010, subsequent
HRSA guidance removed that limitation and the result was an explosion of pharmacy private contracts.

 

The contract pharmacies are making a great deal of money off the 340B program. According to the GAO,

htlps://www.cagw.org/thewastewatcher/gao-releases-another-troubling-repori-340b-drug-discount-program Page 1 of 3

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Case 1:18-cv-00011-TMB Document 20 Filed 05/09/19 Page 8 of 21
Claim 2: On or about IE} 2294 ts new See dine | Fools

 

 

 

 

(Date or Period of Time) (Supporting facts)
From: Stephen Cole swcole@aci.net
Subject:
Date: May 7, 2019 at 11:24 AM
To: Cole vs AICS and Search et al Amended Complaint First Amended

Cc: Claim 2

The revenue provided by the 340 B gives the clinic and doctors incentive to adopt many Restraint of Trade practices that capture more of
the prescription business. Some of the methods are still used today against Stikine Drug.

1. Stikine Drug can not call or fax Tideline Clinic for refills. This stops a industry wide service that pharmacies provide to their customers.
The purpose is to drive us out by stopping this customer service. See fax from Tideline Clinic dated October 25th, 2006.

2 After the approval of the HHS grant in December 2004 and before there pharmacy opened in 2009. The clinic started massive doctor
office dispensing. See label from Tideline clinic Care 340B. At that time my price for that prescription would have been about $20.00. My
number of prescription fell from a high of 10,483 in 2003 to less than 800 in 2018.

3. The letter dated 02/13/2012 shows what happens when the patient refuses to switch to AICS pharmacy.

4. My customers have difficulty getting their new prescription faxed to Stikine Drug, Tideline clinic stopped giving written prescription to limit
patient choice and would just state they can pick it up at AICS pharmacy.

5 Dentists from the AICS dental clinic are reminded that they need to send prescriptions to AICS and be a team player.
6. The fear instilled by Tideline Clinic make it impossible to even get letters from my customers about the complains they voice to me. The

most they will say if they believe they should have the choice of picking their own pharmacy. | was voicing my concerns to my customers and
received a letter from AICS attorneys. This had the desired result and I stopped public discussion.

 

 

 

 

 

 

4 COMPLAINT

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does not agree with the above
policy because itis
inconvenient to our customers
and us. VWV/ve appreciate your |.
loyaly and patronage. We will
be glad to fill your
prescriptions in the future. It
is your right to fill your
prescriptions at Sikine Drug.

Stephen VV. Cole, R.Ph.
Stikine Drug _ 7

   
 

~ Case 1:18-cv-00011-TMB Document1 Filed 07/23/18 Page 17 of 31
Case 1:18-cv-00011-TMB Document 20 Filed 05/09/19 Page 10 of 21
 

 

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Stephen Wayne Cole Rx No.: 110225 02/12/04
Kristel Winebarger, MO DEA# BW6069517

{907 74-2709

x 2364 Filled By: Stephen w.Colef Days Supply: 3
Wrangell, AK 99929

NDC 00172-5643-70
Amount: $23.36

DAW# 0
NABP 0202630

HYDROCOIJAPAP 5-S0OMG 24 TAB Equivalent to VICODIN
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Case 1:18-cv-00011-TMB Document1 Filed 07/23/18 Page 14
of
Case 1:18-cv-00011-TMB Document 20 Filed 05/09/19 Page 11 Of 2
 

David McCandless, MD
Donna Paul, ANP

Lynn Prysunka, MD
Greg Salard, MD

 

02/13/2012

Stikine Drug

202 Front Street

PO Box 4714
Wrangell, AK 99929

~ RE:- Dale Althouse, DOB: 03/14/1960

Dear Mr. Cole,

This letter is to inform you that Dale Althouse will not be
immediately please cancel all existing prescriptions and

Sincerely,

a 4

A at Nehend, 28
Greg A, Salard MD

AICS TideLine Clinic

320 Bennett St PO Box 1231
Wrangell, AK 99929

(907) 874-4700

getting his prescriptions filled at Stikine Drug. Effectifve
any refills that may be remaining.

Sd

Ww

Case 1:18-cv-00011-TMB Document1 Filed 07/23/18 Page 19 of 31

Case 1:18-cv-00011-TMB Document

20 Filed 05/09/19 Page 12 of 21
* Dellisio Moran Geracury & Zope, PC.

 

Law Offices Joseph M. Moran
Michael C. Geraghty

Patricia L. Zobel
Deirdre Darling Ford
John D. Harjehausen
Bruce A. Mocra

November 22, 2005 Tregarrick R. Taylor
Adolf V. Zeman

Danielle M. Ryman
Matthew K. Teaford
CERTIFIED Mar. Stephen S. DeLisio, Of Counsel

RETURN RECEIPT REQUESTED
Steve Cole

PO Box 471

Wrangell, AK 99929

Re: Alaska [sland Community Services

Dear Mr. Cole:

We represent Alaska Island Community Services (“AICS”), and write in regard to
comments reportedly made by you concerning AICS and its employees.

It is our understanding that you have made inflammatory and false statements
about AICS to members of the Wrangell Community and to a federal employee of
the Heath Resources Administration Services. The statements that have come to
our attention concern alleged improper conduct of AICS employees and mishandling
of federal funds. These statements are patently false and without any merit. We
must advise that the communication of these false statements constitutes
defamation and gives rise to a legal claim on that basis, as well as a claim for
interference with business relationships, among others. AICS is prepared to pursue
these claims should you continue to communicate or otherwise relay these false
statements.

Piease contact me if you have any questions.
Very truly yours,
DeLISIO MORAN GERAGHTY & ZOBEL, P.C.

By: | ol Ly \y .
Danielle M. Ryman .
ce: Mark Walker a

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Case ES BUC TMB DORR EN L Filae GAZ31s” Page 1S at'31
Case 1:18-cv-00011-TMB Document 20 Filed 05/09/19 Page 13 of 21
D. Request for Relief

Plaintiff requests that this court grant the following relief:

1. Damages in the amount of $ & ZN, Joh, oF
2. Punitive damages in the amount of $ te iple Jamas lve te ditch
3, An order requiring defendant(s) to_ <6, 2h, 4) GQ. 99

See, ito, yf vor orto Ly ry

Gctov tact <4. JANES ~

4. A declaration that

 

 

5. Other:

 

 

 

Plaintiff demands a trial by x Jury Court. (Choose one)

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that s/he is the
plaintiff in the above action, that s/he has read the above complaint and that
the information contained in the complaint is true and correct.

Sl WL
Plaintiff's Original Signature

aghel We» He Cole

“(Plaintiff's Full Name)

Executed at Weasnged), Ms Bs on NI Is y ), LD )

7 (Location) “ (Date) J

 

6 COMPLAINT

Case 1:18-cv-00011-TMB Document 20 Filed 05/09/19 Page 14 of 21
C. F. James, CPA, P.C.
P. O. Box 1258 Wrangell, Alaska 99929
Phone (907) 874-2331 Fax (206) 430-5125
Email: info@cfjamescpa.com

July 10, 2018

Stikine Drug Store, LLC
Steve Cole, Member

PO Box 471

Wrangell AK 99929-0471

Steve:

Per your request we have considered the operations of Stikine Drug Store since you acquired it
and are submitting a draft of the findings for your review. We compared gross profits to
prescription sales and then estimated gross profits over the same period as if sales of
prescriptions had remained flat. We computed an estimate of the difference in actual gross profits
versus estimated gross profits without the reductions in prescription sales.

Our estimate of lost gross profits due to decreased prescription sales would be approximately $
2,112,106.00 between the years 2003 and 2017. We are presenting three graphs to compare
actual results of operations to estimated potential results of operations and how the estimated
potential results were arrived at.

The first graph has four variables. The first three variables are related: Gross Sales; Cost of Goods
Sold (COGS); and Gross Profit. (Gross Sales - COGS = Gross Profit). The fourth variable is city
sales tax, Wrangell has not experienced significant commercial growth during the periods covered
by these graphs, see the population graph of Wrangell, included. The majority of growth in
Wrangell city sales tax is due to general inflation. It amounts to a 2.84% annual increase over the
period covered by these graphs.

The second graph shows the relationship between gross profit and the number of prescriptions
sold. Both gross profit and prescriptions sold are stated as a percentage of totals for the years
shown. Please note, there is an anomaly in COGS & Gross profit for years 2005 and 2006, This
was due to a fire which occurred in 2005.

The third graph shows what gross profit there would have been, had it increased at the same
general inflation rate as the Borough Sales Tax. This would basically mean that sales would
increase at the rate of local inflation. This graph indicates a loss of gross profit of $
2,512,106.59. (Please note, this graph does not make an adjustment for the additional expense
that was incurred due to the fire in 2005. The additional expense and loss of sales would total
approximately $ 400,000.00) Our estimation of lost gross profit would be approximately $
2,112,106.

Please let us know whether this will adequately address your needs, we will print a final version
for you once you've reviewed the information.

Best Regards,

Clifford F. James — CPA

Case 1:18-cv-00011-TMB Document 20 Filed 05/09/19 Page 15 of 21
acs =)
Zo 4

C.F. James, CPA, P.C.
P. O. Box 1258 Wrangell, Alaska 99929
Phone (907) 874-2331 Fax (206) 430-5125
Email: info@cfjamescpa.com

1,600,000.00
1,400,000.00
1,200,000,00
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2002 2003 2004 2005 2006 2007) «2008 2009-2010 2011 2012 2013 2014 2015 2016 2017

—o— Gros Sales —@— COGS  —@— Gross Profit «ae City Sales Tax

   

Relationship of Gross Profits to Prescriptions
2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016

—e— Gross Profit as a Percentage of Sum of Years Profits

== Hof Prescriptions as a % of Total Prescriptions from 2003-2016

Ideal Vs. Actual Growth
500,000.00
450,000.00
400,000.00
350,000.00
300,000.00
250,000.00
200,000.00
150,000.00
100,000.00

50,000.00

2003 «2004 2005 2006 «#2007 «2003 «#42009 «#427010 2011 2012 2013 2014 «2015 2016 #2017

—t=—Estimated PotentialGrowth = =—®=Actual Growth

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2002
2003

2004

2005
2006
2007
2008
2009
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2011
2012
2013
2014
2015
2016
2017

 

Gross Sales COGS Gross Profit City Sales Tax City Sales Tax # of Prescriptions
304,839.00
779,258.82 474,700.48 304,558.34 878,651.50 1,757,303.00 10,483.00
917,121.46 572,352.76 344,768.70 941,643.00 1,883,286.00 10,160.00
753,991.54 738,652.82 15,338.72 1,018,728.00 2,037,456.00 9,145.00
690,708.65 485,538.67 205,169.98 1,045,316.50 2,090,633.00 6,630.00
785,055.54 482,847.46 302,208.08 1,025,000.00 2,050,000.00 7,190.00
782,066.36 496,972.84 285,093.52 1,198,024.50 2,396,049.00 6,413.00
812,304.12 506,341.35 305,962.77 1,133,065.50 2,266,131.00 7,106.00
798,525.43 529,595.26 268,930.17 1,102,919.50 2,205,839.00 6,405.00
715,076.72 457,963.69 257,113.03 1,151,140.50 2,302,281.00 3,682.00
544,821.87 354,737.77 190,084.10 1,237,248.00 2,474,496.00 2,866.00
454,145.82 280,175.64 173,970.18 1,244,858.00 2,489,716.00 2,075.00
389,389.13 270,644.95 118,744.18 1,298,661.00 2,597,322.00 1,675.00
341,369.03 237,123.03 104,246.00 1,342,548.50 2,685,097.00 1,137.00
353,567.48 255,591.26 97,976.22 1,322,286.00 2,644,572.00 1,230.00
402,346.67 290,134.05 1,321,682.00 2,643,364.00 1.00

1,600,000.00

1,400,000.00

1,200,000.00

1,000,000.00 ss

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2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016 2017

==@=<= Gross Sales =@== COGS Gross Profit

“Sales Tax is meant as a reference only and Is reduced by 50% to better fit chart

e=@—- City Sales Tax

AICS Pharmacy Enumeration Date 12/7/9

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2003
2004
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2008
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2011
2012
2013
2014
2015
2016

Gross Profit as a Pert # of PresciGross Profit # of Prescriptions

0.10
0.12
0.01
0.07
0.10
0.10
0.10
0.09
0.09
0.06
0.06
0.04
0.04
0.03
1.00

13.76%
13.33%
12.00%
8.70%
9.44%
8.42%
9.33%
8.41%
4.83%
3.76%
2.72%
2.20%
1.49%
1.61%
100.00%

304558.34
344768.7
15338.72

205169.98

302208.08

285093.52

305962.77

268930.17

257113.03
190084.,1

173970.18

118744.18

104246
97976.22

10483
10160
9145
6630
7190
6413
7106
6405
3682
2866
2075
1675
1137
1230

2974163.99 76,197.00

0.16
0.14
0.12
0,10
0.08
0.06
0.04
0,02

   

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2003 2004 2005 2006 2007 2008 2009 2010 20112012 2013 2014 2015 2016

==@— Gross Profit as a Percentage of Sum of Years Profits

==@=—= # of Prescriptions as a % of Total Prescriptions from 2003-2016

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2002
2003
2004
2005
2006
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2008
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2012
2013
2014
2015
2016
2017

500000
450000
400000
350000
300000
250000
200000
150000
100000
50000
0

Gross Sales

304839
779258.82
917121.46
753991.54
690708.65
785055.54
782066.36
812304.12
798525,43
715076.72
544821.87
454145 .82
389389.13
341369.03
353567.48
402346.67

COGS

474700.48
572352.76
738652.82
485538.67
482847.46
496972.84
506341.35
529595,.26
457963.69
354737.77
280175.64
270644.95
237123.03
255591.26

290134.05 .

304558.34
344768.7
15338.72

205169.98

302208.08

285093.52

305962.77

268930.17

257113.03
190084.1

173970.18

118744.18

104246
97976.22

Gross Profit D.P.+ Inflation

304,558.34
313,189.52
322,065.31
331,192.65
340,578.65
350,230.64
360,156.18
370,363.01
380,859.09
391,652.64
402,752.08
414,166.07
425,903.54
437,973.64

Actual Profit Vs. Expected Profit

\ /

e=@= Gross Profit

ex@® DP. + Inflation

City Sales Tax

878651.5
941643
1018728
1045316.5
1025000
1198024.5
1133065.5
1102919.5
1151140.5
1237248
1244858
1298661
1342548,5
1322286
1321682

 

2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016

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City Sales Tax

1757303
1883286
2037456
2090633
2050000
2396049
2266131
2205839
2302281
2474496
2489716
2597322
2685097
2644572
2643364

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# of Prescriptions

10483
10160
9145
6630
7190
6413
7106
6405
3682
2866
2075
1675
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1230
1
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Bead sat Ree. Retail

US POSTAGE PAID

Origin: 98929
$8 OO sm
a 0297880863-05
PRIORITY MAIL 3-Day ®

‘ 0 Lb 4.20 Oz
pO 1005

EXPECTED DELIVERY DAY: 05/11/18

 

 

 

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[coos]

999 W 7TH AVE
STOP 4
ANCHORAGE AK 99513-7504

USPS TRACKING NUMBER

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9505 5103 5603 9127 2379 82

 

 

 

 

  

 

 

 

 

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